     Case 4:98-cr-00106-LGW-CLR Document 840 Filed 06/01/12 Page 1 of 1




                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF GEORGIA
                      SAVANNAH DIVISION
BRUCE BERNARD TOWNSEND,

       Movant,

v.                                                          Case No. CV410-287
                                                                      CR498- 106
UNITED STATES OF AMERICA,

       Respondent.

                                           ORDER

       Let a copy of this Report and Recommendation be served upon movant and respondent.

Any objections to this Report and Recommendation must be filed with the Clerk of Court not
later than June 11, 2012. The Clerk shall submit this Report and Recommendation together
with any objections to the Honorable B. Avant Edenfield, United States District Judge, on
June 12, 2010. Failure to file an objection within the specified time means that this Report
and Recommendation may become the opinion and order of the Court, Nettles v. Wainwright,
677 F.2d 404 (5th Cir. 1982), and further waives the right to appeal the District Court's Order.

Thomas v. Arn, 474 U.S. 140 (1985).

       All requests for additional time to file objections to this Report and Recommendation
should be filed with the Clerk for consideration by the District Judge to whom this case is
assigned.
       This 1st day of June, 2012.




                                      1JNTTFD STATES ILGIS[RATh JUDGE
                                      SOIJTHIERN DISTRICT of GEORGIA
